
*62Kelly, C.J.
At issue in this case is whether the legislative sentencing guidelines1 apply to defendant’s 10-year minimum sentence imposed under MCL 750.520f, the repeat criminal sexual conduct (CSC) offender statute. In deciding the issue, we must also determine what constitutes the “mandatory minimum” sentence referred to in MCL 750.520f(l), which requires a minimum sentence of “at least 5 years.”
Defendant contends that the statute’s mandate is simply 5 years, whereas the prosecution contends that the statute mandates any minimum sentence of 5 years or more. If we accept defendant’s argument, his 10-year minimum sentence was a departure from the guidelines recommendation and he is entitled to resentencing. The trial court did not provide substantial and compelling reasons justifying a departure.2 If we agree with the prosecution, defendant’s 10-year minimum sentence was not a departure because the Legislature has explicitly stated that a mandatory minimum sentence is not a departure.3 The Court of Appeals agreed with the prosecution, concluding that “[bjecause defendant’s 10-year minimum sentence is ‘at least’ five years, it satisfies the requirements of [MCL 750.520f].”4
We conclude that the guidelines apply to defendant’s sentence and that the “mandatory minimum” sentence in MCL 750.520f(l) is a flat 5-year term. Because the trial court imposed a 10-year minimum sentence that *63exceeded both the applicable guidelines range and the 5-year mandatory minimum, defendant’s sentence was a departure from the guidelines. However, the trial court did not state substantial and compelling reasons justifying a departure, let alone any reasons justifying the particular departure made. Therefore, we reverse the judgment of the Court of Appeals and remand the case for resentencing.
FACTS AND PROCEDURAL HISTORY
Larry Wilcox was charged with first-degree CSC. The felony information notified him that he faced an enhanced sentence under MCL 750.520f as a repeat CSC offender and under MCL 769.10 as a second-offense habitual offender. At trial, the prosecutor introduced two documents into evidence in support of the repeat offender enhancements. They established that defendant had been convicted of second-degree CSC5 in 1987.
The jury convicted defendant as charged. His sentencing information report calculated the applicable guidelines minimum sentence range as 27 to 56 months. After acknowledging that MCL 750.520Í applied, the trial judge imposed a sentence of 10 to 40 years. The judge did not indicate that the 120-month minimum sentence was a departure from the guidelines range and did not provide a substantial and compelling reason for departing.
Defendant appealed as of right. The Court of Appeals affirmed his conviction and sentence in a published opinion. The panel summarily dismissed his argument that the sentence improperly exceeded both the sentencing guidelines range and the 5-year mandatory *64minimum sentence established by MCL 750.520f(l).6 The panel further opined that defendant’s sentence was not a departure from the guidelines, implicitly concluding that the guidelines were inapplicable because defendant had been sentenced under MCL 750.520f.7
We granted defendant’s application for leave to appeal, limited to the issue whether the sentencing guidelines applied to the sentence and, if so, whether defendant is entitled to resentencing.8
STANDARD OF REVIEW
We review issues of statutory interpretation de novo.9 Our primary goal is to give effect to the intent of the Legislature.10 The first step in ascertaining intent is to focus on the language of the statute. If the language is unambiguous, we presume that the Legislature intended the meaning expressed.11
ANALYSIS
Resolution of the issue in this case depends on how the statutes discussing the application of the sentencing *65guidelines interact with MCL 750.520f. MCL 769.34(2) describes the offenses to which the sentencing guidelines apply:
Except as otherwise provided in this subsection or for a departure from the appropriate minimum sentence range provided for under subsection (3), the minimum sentence imposed by a court of this state for a felony enumerated in part 2 of chapter XVII committed on or after January 1, 1999 shall be within the appropriate sentence range under the version of those sentencing guidelines in effect on the date the crime was committed.
Thus, the sentencing guidelines apply to felonies enumerated in part 2 of chapter XVII of the Code of Criminal Procedure, MCL 777.11 through 777.19, committed on or after January 1, 1999, except as otherwise provided in MCL 769.34(2). Defendant was convicted of first-degree CSC,12 which is a felony enumerated in MCL 777.16y. It is undisputed that he committed the offense after January 1, 1999. Therefore, the sentencing guidelines apply to his sentence absent an exception elsewhere in the statute.
MCL 769.34(2) does provide exceptions to the applicability of the sentencing guidelines. MCL 769.34(2)(a) contains the exception at issue here. It states:
If a statute mandates a minimum sentence for an individual sentenced to the jurisdiction of the department of corrections, the court shall impose sentence in accordance with that statute. Imposing a mandatory minimum sentence is not a departure under this section. If a statute mandates a minimum sentence for an individual sentenced to the jurisdiction of the department of corrections and the statute authorizes the sentencing judge to depart from that minimum sentence, imposing a sentence that exceeds the recommended sentence range but is less than the manda*66tory minimum sentence is not a departure under this section. If the Michigan vehicle code, 1949 PA 300, MCL 257.1 to 257.923, mandates a minimum sentence for an individual sentenced to the jurisdiction of the department of corrections and the Michigan vehicle code, 1949 PA 300, MCL 257.1 to 257.923, authorizes the sentencing judge to impose a sentence that is less than that minimum sentence, imposing a sentence that exceeds the recommended sentence range but is less than the mandatory minimum sentence is not a departure under this section. [Emphasis added.]
The parties do not dispute that MCL 750.520f provides for a mandatory minimum sentence, putting it within the purview of MCL 769.34(2)(a). MCL 750.520f(l) provides:
If a person is convicted of a second or subsequent offense under [MCL 750.520b, 750.520c, or 750.520d], the sentence imposed under those sections for the second or subsequent offense shall provide for a mandatory minimum sentence of at least 5 years. [Emphasis added.]
The dispositive question is whether the mandatory minimum sentence established by MCL 750.520f(l) is “at least 5 years” or simply a flat 5-year minimum sentence. Defendant contends that the 5-year minimum is the only sentence that is mandatory and that any sentence above 5 years is permissive. Therefore, defendant argues, any minimum sentence exceeding 5 years is permissible rather than mandated; as a consequence, it is governed by the guidelines. Defendant states that, if the minimum sentence exceeds the range set by the guidelines, it must be justified by substantial and compelling reasons. Because his 10-year minimum sentence exceeded both the 5-year mandatory minimum and the applicable guidelines range, defendant argues that his sentence constituted a departure.
*67The prosecution counters that the words “at least” indicate a legislative intent that any minimum sentence imposed under MCL 750.520f may exceed 5 years, regardless of the guidelines range. Therefore, the prosecution argues, any minimum sentence imposed on a repeat CSC offender under MCL 750.520f is limited only by the “two-thirds rule” contained in MCL 769.34(2)(b).13 Because defendant’s 10-year minimum is “at least 5 years” and does not exceed two-thirds of the maximum sentence imposed (40 years), the prosecution concludes that the sentence complied with MCL 769.34(2)(a) and (b).
We reject the prosecution’s argument. The use of the words “at least” in MCL 750.520f(l) does not grant trial courts the discretion to impose minimum sentences that are subject only to the limitation of the two-thirds rule. Such an interpretation is inconsistent with MCL 769.34(2)(a). Also, it is contrary to a central purpose of the sentencing guidelines — greater uniformity in sentencing.14
The first sentence of MCL 769.34(2)(a) provides that, if a statute mandates a minimum sentence, “the court shall impose sentence in accordance with that statute.” The next sentence states that imposing a mandatory minimum sentence is not a departure from the sentenc*68ing guidelines. The difference in the language of the two sentences is of critical importance. The first states that, when a statute like MCL 750.520f provides for a mandatory minimum sentence, the court must impose a sentence “in accordance with” the statute. This wording provides for a sentence that merely conforms with, but is not necessarily compelled by, the statute at issue.15 Because it is “at least 5 years,” defendant’s 10-year minimum sentence is unquestionably in accordance with MCL 750.520f.
By contrast, the second sentence of MCL 769.34(2)(a) lacks the broad wording “in accordance with” that is present in the first sentence. It provides only that “[i]mposing a mandatory minimum sentence is not a departure” from the sentencing guidelines. This linguistic distinction is critical because, given the statute’s language, only the mandatory minimum sentence is not a departure from the guidelines. Notably, the statute does not specify that a sentence imposed “in accordance with” a statute providing a mandatory minimum sentence is “not a departure.”
Therefore, the proper interpretation of these statutes hinges on the extent to which MCL 750.520f(l) is “mandatory,” so that a sentence compelled by it is not a departure under MCL 769.34(2)(a). One definition of “mandatory” is “authoritatively ordered; obligatory.”16 “Mandatory” and, in particular, “mandatory minimum” are also legal terms of art. As such, reference to a legal dictionary is appropriate.17 Black’s Law Dictionary defines “mandatory” as “[o]f, relating to, or constituting a *69command; required; preemptory.”18 Although Black’s contains no definition for “mandatory minimum,” it defines “mandatory sentence” as “[a] sentence set by law with no discretion for the judge to individualize punishment.”19
Applying these definitions to MCL 750.520f(l), we must conclude that the only minimum that is “mandatory” in the statute is 5 years. Five years is the only minimum sentence in MCL 750.520f(l) that is “set by law with no discretion for the judge to individualize punishment.”20 By contrast, the words “at least” are permissive. They authorize a higher minimum sentence, such as the 10-year minimum imposed here, but nothing in the statute mandates that the minimum sentence exceed 5 years. Although MCL 750.520f(l) authorizes a minimum sentence in excess of 5 years, it does not mandate it.21
The prosecution argues that this interpretation of the statute renders nugatory the words “at least.”22 We disagree. The use of “at least” in MCL 750.520f(l) *70authorizes courts to impose minimum sentences of 5 years or more. However, because only 5 years is mandatory, MCL 769.34(2)(a) exempts only a 5-year minimum sentence from the departure provision in MCL 769.34(3). Hence, if a minimum sentence under MCL 750.520f(l) exceeds 5 years and is higher than the top of the applicable guidelines range, it constitutes a departure. The judge must articulate substantial and compelling reasons for it.
The language “at least” in MCL 750.520f(l) is not in the least rendered nugatory under this analysis. In fact, it comes into play often. Any offender convicted of a repeat CSC offense whose guidelines range exceeds 5 years may properly receive a minimum sentence of “at least 5 years.” For example, a repeat CSC offender whose guidelines range is 180 to 240 months may properly receive a 200-month minimum sentence. Such a sentence would be permissible because it meets the mandatory provision of MCL 750.520f(l) in that it is not less than 5 years. The additional 140 months in excess of 5 years also complies with MCL 769.34(2) because the sentence is within the applicable guidelines range.23
Moreover, to accept the prosecution’s interpretation would undermine the legislative intent behind the sentencing guidelines statutes and potentially lead to arbitrary sentencing. Allowing trial courts to ignore the guidelines when imposing a sentence under MCL 750.520f could lead to similarly situated defendants receiving wholly disparate sentences.
*71For example, under the prosecution’s interpretation, a repeat CSC offender like defendant, whose guidelines range contemplates a relatively low minimum sentence, could nevertheless receive a 60- to 90-year sentence.24 Such a harsh minimum sentence would not require that the trial court give substantial and compelling reasons justifying the disparity between the guidelines range and the actual minimum sentence imposed.
By contrast, a recidivist offender subject to a guidelines range that far exceeds the 5-year mandatory minimum could receive a sentence far below the guidelines range. The trial court could impose the 5-year minimum without being required to provide a justification for the downward departure.25 However, the defen*72dant in question could be subject to a guidelines range contemplating, for example, at least a 20-year minimum term. Given the Legislature’s stated goal in enacting the guidelines of promoting uniformity in sentencing, we believe that this is not a result that the Legislature contemplated.
Defendant’s applicable guidelines minimum sentence range was 27 to 56 months. Under MCL 750.520f(l), the trial court was required to impose a minimum sentence of “at least 5 years.” However, because 5 years is the only truly minimum sentence that is mandatory under MCL 750.520f(l), any minimum sentence exceeding 5 years must fall within the applicable guidelines range. Otherwise, the sentence would not be “a mandatory minimum sentence.” It would constitute a departure from the sentencing guidelines, and the court would have to articulate substantial and compelling reasons for the extent of its departure.
*73The trial court’s 10-year minimum sentence in this case constituted an upward departure from the sentencing guidelines. The court did not articulate substantial and compelling reasons for the extent of its departure. Accordingly, defendant is entitled to resentencing.
CONCLUSION
We hold that the legislative sentencing guidelines apply to minimum sentences in excess of 5 years that are imposed under MCL 750.520Í. We further hold that, for purposes of applying MCL 769.34(2)(a), the “mandatory minimum” sentence referred to in MCL 750.520f(l) is a flat 5-year term.
Here, the trial court imposed a 10-year minimum sentence that exceeded both the applicable guidelines minimum sentence range and the 5-year mandatory minimum. Therefore, defendant’s sentence was a departure from the guidelines. Because the trial court did not state substantial and compelling reasons justifying its departure pursuant to Smith, we reverse the judgment of the Court of Appeals and remand the case for resentencing.
Cavanagh, Markman, and Hathaway, JJ., concurred with Kelly, C. J.

 MCL 777.1 et seq.


 People v Smith, 482 Mich 292; 754 NW2d 284 (2008). Because the trial court in this case believed that the guidelines were inapplicable, it did not articulate reasons warranting a departure. Thus, it failed to offer substantial and compelling reasons justifying the extent of the particular departure made, as required by Smith, 482 Mich at 295.


 MCL 769.34(2)(a) states in part that “[i]mposing a mandatory minimum sentence is not a departure under this section.”


 People v Wilcox, 280 Mich App 53, 57; 761 NW2d 466 (2008).


 MCL 750.520c.


 Wilcox, 280 Mich App at 57.


 Id. Oddly, just two days earlier, the same panel of the Court of Appeals came to the opposite conclusion in another case and determined that the guidelines did apply to sentences imposed under MCL 750.520f. People v Walton, unpublished opinion per curiam of the Court of Appeals, issued June 3, 2008 (Docket No. 276161). In Walton, the trial court concluded that the guidelines did not apply to sentences imposed under MCL 750.520f. The panel vacated defendant’s sentence and remanded for resentencing based on its conclusion that “the actual offense defendant committed” was first-degree CSC, an enumerated felony to which the guidelines apply. Walton, unpub op at 3.


 People v Wilcox, 483 Mich 1094 (2009).


 Hunter v Hunter, 484 Mich 247, 257; 771 NW2d 694 (2009).


 Brown v Detroit Mayor, 478 Mich 589, 593; 734 NW2d 514 (2007).


 Id.


 MCL 750.520b.


 MCL 769.34(2)(b) provides that “[t]he court shall not impose a minimum sentence, including a departure, that exceeds 2/s of the statutory maximum sentence.”


 Smith, 482 Mich at 312 &amp; n 46. The dissent seizes on this sentence and argues as though our decision hinges solely on it. Post at 78. The dissent apparently believes that referring to the purpose underlying the enactment of the sentencing guidelines somehow evidences that we are deviating from the language of the statute. We do not view this reference as a remarkable one, as it is one we have made before, including in Smith, an opinion that the author of the dissent signed. Moreover, the dissent entirely ignores our discussion of the statutory language on pp 67-69 of this opinion.


 A lay dictionary’s definitions of “accordance” include “agreement; conformity: in accordance with the rules.” Random House Webster’s College Dictionary (2001).


 Id.


 MCL 8.3a; People v Jones, 467 Mich 301, 304; 651 NW2d 906 (2002).


 Black’s Law Dictionary (8th ed), p 981.


 Id. at 1394.


 The dissent is correct that “5 years is the starting point of the minimum sentence, not its upper terminus.” Post at 76. But the dissent fails to acknowledge that this 5-year “starting point” is the only truly mandatory aspect of MCL 750.520(f)(1). The “upper terminus” of a defendant’s minimum sentence is controlled by the top of the applicable guidelines range, unless the trial court articulates substantial and compelling reasons for an upward departure.


 For example, in the case at bar, the guidelines range topped out at 56 months, but MCL 750.520f(l) required the court to impose a minimum sentence of 5 years. If a 5-year minimum sentence had been imposed, it would not have been considered a departure sentence pursuant to MCL 769.34(2)(a), even though it exceeded the guidelines range by 4 months.


 “Every word of a statute should be given meaning and no word should be treated as surplusage or rendered nugatory if at all possible.” Baker v Gen Motors Corp, 409 Mich 639, 665; 297 NW2d 387 (1980), *70citing Stowers v Wolodzko, 386 Mich 119, 133; 191 NW2d 355 (1971), and Scott v Budd Co, 380 Mich 29, 37; 155 NW2d 161 (1968).


 Indeed, if the guidelines range were 180 to 240 months and the trial court imposed a minimum sentence of 120 months, that minimum sentence would constitute a downward departure.


 The dissent does not address this anomaly.


 The dissent’s contention that our opinion creates “a new, but unexplained, statutory scheme for mandatory minimum sentences” is mistaken. Post at 79. A 5-year minimum sentence for a defendant with a guidelines range of 7 to 10 years would indeed constitute a downward departure under MCL 769.34(2)(a). When the lower end of the guidelines range is 5 years or greater, a trial court that imposes a sentence of 5 years or more is no longer imposing a “mandatory” minimum. Rather, the court is merely imposing a sentence, as required by MCL 769.34(2)(a), that is “in accordance with” MCL 750.520f(l).
By contrast, the 5-year minimum is “mandatory” when the guidelines range tops out below 5 years. In those circumstances, a 5-year sentence is truly the mandatory minimum sentence, so it is not a departure. It is hardly inconsistent to conclude that a 5-year sentence is no longer mandatory when a defendant’s guidelines range expressly contemplates a higher minimum sentence.
The dissent cites several criminal statutes that provide for indeterminate mandatory minimum sentences, using language such as “not less than [X] years.” See post at 76 n 9. It then argues that “the majority reads out of our law books the indeterminate nature of these mandatory minimum sentences and replaces those sentences with absolute minimum terms that the Legislature did not enact.” Post at 76-77. This is incorrect. Under the majority opinion, ajudge remains free to impose any minimum sentence that is consistent with the guidelines range, subject to the two-thirds rule. Our opinion simply makes clear that, where a *72judge imposes a minimum sentence in excess of the lowest permissible minimum sentence, it must be consistent with the guidelines. Hence, if the guidelines range tops out below the minimum sentence the court wishes to impose, the judge needs to provide substantial and compelling reasons for exceeding the guidelines. Our opinion does not “read[] out of our law books” the indeterminate nature of mandatory minimum statutes by replacing them with absolute minimum terms. By way of illustration, if a statute provides that the minimum sentence shall be “at least two years,” the trial court can impose a minimum sentence higher than two years. But if it wants to provide a minimum sentence higher than the top of the guidelines range, it must articulate substantial and compelling reasons for it. If the guidelines range is 12 to 24 months for a crime requiring a two-year minimum sentence and if the court wants to impose a three-year minimum sentence, it may do so. But it must provide substantial and compelling reasons for the upward departure. Concomitantly, if the guidelines range is 36 to 48 months and the court wishes to impose a two-year minimum sentence, it must provide substantial and compelling reasons for imposing a downward departure. Contrary to the dissent, requiring compliance with the articulation requirements of the guidelines does not replace an indeterminate minimum sentence with an absolute minimum sentence.

